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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

 KATHLEEN MOLLER,                              *
                                               *
                 Plaintiff,
                                               *
 v.                                            *   CIVIL ACTION NO. 2:24-cv-228-WBV-DPC
                                               *
 MARTIAN SALES, INC.; JOPEN,                   *   THE HONORABLE WENDY B. VITTER
 LLC; JOHNSON FOODS, LLC; LP                   *
 IND., LLC; CAG HOLDINGS, LLC;                 *   MAGISTRATE DONNA PHILLIPS
 RMH HOLDINGS, INC.; ABC                       *   CURRAULT
 INSURANCE COMPANY and John                    *
 Does 1-4,                                     *
                 Defendants.                   *

  DECLARATION OF GWENDOLYN C. PAYTON IN SUPPORT OF DEFENDANTS’
    RESPONSE TO PLAINTIFF’S MOTION TO COMPEL DISCOVERY FROM
  MARTIAN SALES, INC., JOPEN, LLC, LP IND., LLC, CAG HOLDINGS, LLC AND
                          RMH HOLDINGS, INC.
I, Gwendolyn C. Payton, make the following declaration:

         1.    I am an attorney with the law firm Kilpatrick Townsend & Stockton LLP. I am

counsel for Defendants LP Ind., LLC, CAG Holdings, LLC, RMH Holdings, Inc., Martian Sales,

Inc., and JOpen, LLC (“Defendants”). I have personal knowledge about the facts set forth in this

declaration. I can testify about this declaration if I am called as a witness.

         2.    On February 19, 2025, my colleague, Maeghan Whitehead, met and conferred with

Plaintiff’s counsel about Plaintiff’s requested documents.

         3.    Martian Sales has produced a copy of its Contract Processing Agreement with

Advanced Nutrition. Martian Sales and JOpen have produced a copy of their Distribution

Agreement.

         4.    JOpen is a distributor that distributes many different types of products, including

Maverick Playing Cards, Rainbow Meta Cube Fanny Packs, BIG Pens, and Cala Nail Clippers.

JOpen also distributes kratom products. JOpen’s customers are primarily other distributors.

         5.    Attached as Exhibit A to this declaration is a true and correct copy of Martian

Sales’s responses and objections to Plaintiff’s First Set of Interrogatory Requests to Martian Sales.

DECLARATION OF GWENDOLYN C. PAYTON IN SUPPORT OF
DEFENDANTS’ MEMORANDUM IN OPPOSITION TO
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         6.    Attached as Exhibit B to this declaration is a true and correct copy of Martian

Sales’s responses and objections to Plaintiff’s Second Set of Interrogatory Requests to Martian

Sales.

         7.    Attached as Exhibit C to this declaration is a true and correct copy of JOpen’s

responses and objections to Plaintiffs First Set of Interrogatory Requests to JOpen.

         8.    Attached as Exhibit D to this declaration is a true and correct copy of JOpen’s

responses and objections to Plaintiffs Third Set of Interrogatory Requests to JOpen.

         9.    Attached as Exhibit E to this declaration is a true and correct copy of LP’s

responses and objections to Plaintiffs Second Set of Interrogatory Requests to LP.

         10.   Attached as Exhibit F to this declaration is a true and correct copy of CAG

Holdings’s responses and objections to Plaintiffs First Set of Interrogatory Requests to CAG

Holdings.

         11.   Attached as Exhibit G to this declaration is a true and correct copy of CAG

Holdings’s responses and objections to Plaintiffs Second Set of Interrogatory Requests to CAG

Holdings.

         12.   Attached as Exhibit H to this declaration is a true and correct copy of RMH

Holdings’s responses and objections to Plaintiffs First Set of Interrogatory Requests to RMH

Holdings.

         13.   Attached as Exhibit I to this declaration is a true and correct copy of RMH

Holdings’s responses and objections to Plaintiffs Second Set of Interrogatory Requests to Martian

Sales.

         14.   Attached as Exhibit J to this declaration is a true and correct copy of Plaintiff’s

Third Requests for Production to JOpen.

         15.   Attached as Exhibit K to this declaration is a true and correct copy of Plaintiff’s

Second Requests for Production to Martian Sales.

         16.   Attached as Exhibit L to this declaration is a true and correct copy of Plaintiff’s

Second Requests for Production to CAG Holdings.
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       17.     Attached as Exhibit M to this declaration is a true and correct copy of Plaintiff’s

Second Requests for Production to RMH Holdings.

       18.     Attached as Exhibit N to this declaration is a true and correct copy of Plaintiff’s

Second Requests for Production to LP Ind.

       19.     Attached as Exhibit O to this declaration is a true and correct copy of JOpen’s

Responses and Objections to Plaintiff’s Third Requests for Production.

       20.     Attached as Exhibit P to this declaration is a true and correct copy of Martian

Sales’s Responses and Objections to Plaintiff’s Second Requests for Production.

       21.     Attached as Exhibit Q to this declaration is a true and correct copy of CAG

Holdings’s Responses and Objections to Plaintiff’s Second Requests for Production.

       22.     Attached as Exhibit R to this declaration is a true and correct copy of RMH

Holdings’s Responses and Objections to Plaintiff’s Second Requests for Production.

       23.     Attached as Exhibit S to this declaration is a true and correct copy of LP Ind.’s

Responses and Objections to Plaintiff’s Second Requests for Production.

       24.     Attached as Exhibit T to this declaration is a true and correct copy of Plaintiff’s

Amended 30(b)(6) Deposition Notice to Martian Sales.

       25.     Attached as Exhibit U to this declaration is a true and correct copy of Plaintiff’s

Fourth Amended 30(b)(6) Deposition Notice to LP Ind.

       26.     Attached as Exhibit V to this declaration is a true and correct copy of Plaintiff’s

Third Amended 30(b)(6) Deposition Notice to CAG Holdings.

       27.     Attached as Exhibit W to this declaration is a true and correct copy of Plaintiff’s

Third Amended 30(b)(6) Deposition Notice to RMH Holdings.

       I declare, under penalty of perjury under the laws of the United States of America, that the

foregoing is true and correct.

       DATED this 3rd day of March, 2025 at Seattle, Washington.

                                             /s/ Gwendolyn C. Payton
                                                Gwendolyn C. Payton

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DEFENDANTS’ MEMORANDUM IN OPPOSITION TO
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                             CERTIFICATE OF SERVICE

      I certify that on the date indicated below I caused a copy of the foregoing document,

DECLARATION OF GWENDOLYN C. PAYTON IN SUPPORT OF DEFENDANTS’

RESPONSE TO PLAINTIFF’S MOTION TO COMPEL to be served on all counsel of record via

the Court’s ECF System.

      DATED this 3rd day of March, 2025.

                                         Kilpatrick, Townsend & Stockton LLP

                                         By: /s/ Gwendolyn C. Payton
                                           Gwendolyn C. Payton

                                         COUNSEL FOR DEFENDANTS LP IND., LLC;
                                         CAG HOLDINGS, LLC; RMH HOLDINGS, INC.;
                                         MARTIAN SALES, INC.; and JOPEN, LLC.




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